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                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF WEST VIRGINIA
                                  CLARKSBURG

  STEPHEN J. BALISE, M.D.,                         )   CASE NO.: 1:24-cv-2
                                                   )
         Plaintiff,                                )   Judge Thomas S. Kleeh
                                                   )   Magistrate Judge Michael J. Aloi
  v.                                               )
                                                   )
  BRITTANY JACKSON,                                )
                                                   )
         Defendant.                                )


                  ORDER GRANTING DEFENDANT’S MOTION TO
             CONTINUE DEFENDANT’S EXPERT DISCLOSURE DEADLINE

        Pending before the Court is Defendant’s Second Motion to Continue Scheduling Order

 Deadlines. The Court finds that good cause has been shown to extend certain deadlines set forth

 in the Scheduling Order entered on February 22, 2024 [ECF No. 17), as amended by the Order

 Amending Scheduling Order and Granting Defendant’s Motion to Continue Defendant’s Expert

 Witness Deadline. [ECF No. 22].

        Therefore, Defendant’s Motion is GRANTED, and thus:

        1. Defendant’s expert disclosure deadline is August 2, 2024.

        2. The deadline for examinations/inspections is September 13, 2024

        3. The deadline for the completion of discovery is October 4, 2024.

        4. All other provisions of the Scheduling Order remain in effect.


       It is all so ORDERED. The Clerk is DIRECTED to provide copies of this Order to Plaintiff by

certified mail, return receipt requested, and to all counsel of record by electronic means.



             Entered May 15, 2024
